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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
FORT MYERS DIVISION
ANDREW BRYANT SHEETS,
Plaintiff,
v.                                                        CASE NO. 2:24-CV-495-JLB-KCD
JERRY PRESSELLER,
THE DOWNTOWN MERCHANTS
COMMITTEE OF PUNTA GORDA,
INC, DAVID JOSEPH LIPKER and
CITY OF PUNTA GORDA.
Defendants.
__________________________________/
PLAINTIFF'S MOTION TO COMPEL COMPLIANCE WITH SUBPOENA
INTRODUCTION
Plaintiff, pursuant to Rule 45 of the Federal Rules of Civil Procedure, respectfully moves this Court to
compel compliance with a subpoena duces tecum served on the State Attorney’s Office for the 20th
Judicial Circuit of Florida (hereinafter “Respondent”). Despite proper issuance of the subpoena,
Respondent has improperly treated the subpoena as a public records request under Florida law,
demanding $3,000 in fees for redaction. This position is untenable under federal law governing
subpoenas and violates the Plaintiff’s right to discovery.
BACKGROUND
     1. On 12/2/2024, Plaintiff served a valid subpoena duces tecum on Respondent, seeking records
        containing Plaintiff's name as part of the discovery process in this case.
     2. The subpoena specifically directed Respondent to produce the requested documents without
        redaction, unless privileged information is identified and the privilege is substantiated.
     3. Respondent has refused compliance, asserting that the subpoenaed records are subject to Florida
        public records laws and demanding $3,000 in redaction fees.
     4. Plaintiff has made good-faith efforts to resolve the dispute, but Respondent continues to refuse
        compliance, necessitating this motion.
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LEGAL STANDARD
Under Rule 45(d)(2)(B)(i) of the Federal Rules of Civil Procedure, a party may move the issuing court
for an order compelling compliance with a subpoena. A non-party is obligated to comply with a
subpoena unless it demonstrates that compliance would impose an undue burden or that the information
sought is privileged. See In re Subpoena Duces Tecum Served on Office of Comptroller of Currency,
145 F.3d 1422, 1424 (D.C. Cir. 1998).
ARGUMENT
I. RESPONDENT HAS FAILED TO ASSERT A LEGITIMATE BASIS FOR NON-COMPLIANCE.
Respondent’s refusal to comply is based on an erroneous conflation of a subpoena with a public records
request under Florida law. However, subpoenas are judicial orders issued under the authority of the
federal court and are governed exclusively by Rule 45 of the Federal Rules of Civil Procedure. See
U.S. v. Nixon, 418 U.S. 683, 709 (1974) (stating that subpoenas issued under Rule 45 are judicial
mandates and must be complied with unless quashed or modified).
Redaction fees under Florida’s public records laws do not apply to federal subpoenas. The imposition
of such fees constitutes an undue burden and an obstruction to discovery.
II. RESPONDENT HAS NOT DEMONSTRATED UNDUE BURDEN OR PRIVILEGE.
To resist a subpoena, a non-party must show that compliance would result in undue burden or that the
information sought is privileged. See In re Modern Plastics Corp., 890 F.3d 244, 251 (6th Cir. 2018).
Respondent has not argued undue burden or claimed privilege but instead relies on state law
inapplicable to federal subpoenas.
III. COURTS HAVE CONSISTENTLY ENFORCED SUBPOENAS AGAINST NON-PARTIES.
Federal courts have held that non-parties are required to comply with subpoenas unless they can
demonstrate specific reasons for non-compliance. See Dynamic 3D Geosolutions LLC v. Schlumberger
Ltd., 837 F.3d 1280, 1295 (Fed. Cir. 2016). Attempts to impose unnecessary costs or procedural hurdles
have been rejected. See also Jackson v. Brinker, 147 F.R.D. 189, 194 (S.D. Ind. 1993) (stating that
compliance with subpoenas must not be unreasonably conditioned).
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IV. THIS COURT HAS AUTHORITY TO ENFORCE THE SUBPOENA.
Under Rule 45(d)(2)(B)(i), this Court has the authority to compel compliance with subpoenas issued in
this case. Courts have repeatedly exercised this authority to ensure that discovery obligations are met.
See Chao v. Aurora Loan Services, LLC, 2008 WL 5429827, at *3 (E.D. Cal. Dec. 30, 2008).
RELIEF REQUESTED
For the foregoing reasons, Plaintiff respectfully requests that this Court:
    1. Grant this Motion to Compel Compliance with Subpoena;
    2. Order Respondent to produce the subpoenaed records without imposing redaction fees; and
    3. Award any additional relief deemed appropriate, including sanctions under Rule 45(g) for
       Respondent’s willful non-compliance.
Respectfully submitted,
/S/ANDREW B SHEETS
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12/7/2024



CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 12/7/2024, I electronically
filed the foregoing with the Clerk of the Court by using the CM/ECF system which
will send a notice of electronic filing to all CM/ECF participants. I further certify
that I mailed the foregoing document and the notice of electronic filing by first-
class mail to any non-CM/ECF participants.
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